            Case 3:18-cr-00577-CRB Document 272-1 Filed 12/21/23 Page 1 of 3




 1   Jonathan Matthew Baum (SBM: 303469)         Christopher J. Morvillo
     Steptoe & Johnson LLP                       Celeste L.M. Koeleveld
 2   One Market Street                           Daniel S. Silver
     Steuart Tower, Suite 1070                   (Admitted Pro Hac Vice)
 3
     San Francisco, CA 94105                     Clifford Chance US LLP
 4   Telephone: (510) 735-4558                   31 West 52nd Street
     jbaum@steptoe.com                           New York, NY 10019
 5                                               Telephone: (212) 878-3437
 6   Reid H. Weingarten                          christopher.morvillo@cliffordchance.com
     Brian M. Heberlig
 7   Michelle L. Levin
     Nicholas P. Silverman                       Attorneys for Defendant
 8   Dwight J. Draughton                         Michael Richard Lynch
 9   Drew C. Harris
     Steptoe & Johnson LLP
10   1114 Avenue of the Americas
     New York, NY 10036
11   Telephone: (212) 506-3900
12
13
                                UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
16   UNITED STATES OF AMERICA,               Case No.: 3:18-cr-00577-CRB

17                Plaintiff,                 Judge: Hon. Charles Breyer
18
           vs.                               DECLARATION OF CHRISTOPHER J.
19                                           MORVILLO IN SUPPORT OF
     MICHAEL RICHARD LYNCH and               DEFENDANT MICHAEL RICHARD
20   STEPHEN KEITH CHAMBERLAIN,              LYNCH’S MOTION TO COMPEL AND
21                                           FOR RELATED RELIEF
                  Defendants.
22                                           Date: January 10, 2024
                                             Court: Courtroom 6 – 17th Floor
23                                           Date Filed: December 21, 2023
24                                           Trial Date: March 18, 2024

25
26
27
28

      DECLARATION OF CHRISTOPHER J. MORVILLO IN SUPPORT OF DEFENDANT MICHAEL RICHARD
            LYNCH’S MOTION TO COMPEL AND FOR RELATED RELIEF – 3:18-CR-00577-CRB
             Case 3:18-cr-00577-CRB Document 272-1 Filed 12/21/23 Page 2 of 3




 1                      DECLARATION OF CHRISTOPHER J. MORVILLO
 2          I, Christopher J. Morvillo, declare as follows:
 3          1.      I am an attorney licensed to practice law in New York and a partner at the law
 4   firm of Clifford Chance US LLP, counsel for the defendant Michael Richard Lynch.
 5          2.      I have knowledge of the facts set forth herein, and if called upon as a witness to
 6   testify thereto, I could do so competently under oath.
 7          3.      Counsel for the United States of America and I have conferred regarding the facts
 8   and issues set forth herein on several occasions both telephonically and via email, and will
 9   continue to do so in good faith to try to narrow the issues in dispute. Nevertheless, the parties’
10   positions sufficiently diverge on the matters that are the subject of this motion such that Dr.
11   Lynch now seeks the Court’s involvement, particularly given the tight pretrial schedule that may
12   be affected by the resolution of these matters.
13          4.      To accommodate the schedules of the government, Dr. Lynch has noticed this
14   motion for January 10, 2024. And, due to a conflict for counsel for Mr. Chamberlain on the
15   afternoon of that date, Dr. Lynch has noticed the time for 10:00 am. Nevertheless, given the
16   nature of the relief sought and the compressed pretrial schedule, counsel for Dr. Lynch is
17   available at any time convenient for the Court and co-counsel to be heard on this motion.
18          5.      Attached hereto as Exhibit 1 is a true and correct copy of the Government's
19   exhibit list, received December 8, 2023.
20          6.      Attached hereto as Exhibit 2 is a true and correct copy of the Government's
21   witness list, dated December 15, 2023.
22          7.      Attached hereto as Exhibit 3 is a true and correct copy of the Government's Rule
23   404(b) disclosure, dated December 15, 2023.
24          8.      Attached hereto as Exhibit 4 is a true and correct copy of the Government's
25   witness list, dated August 8, 2023.
26          9.      Attached hereto as Exhibit 5 is a true and correct copy of the Government's
27   witness list, dated November 22, 2023.
28

       DECLARATION OF CHRISTOPHER MORVILLO IN SUPPORT OF DEFENDANT MICHAEL RICHARD
             LYNCH’S MOTION TO COMPEL AND FOR RELATED RELIEF – 3:18-CR-00577-CRB
                                                       1
            Case 3:18-cr-00577-CRB Document 272-1 Filed 12/21/23 Page 3 of 3




 1         I declare under penalty of perjury that the foregoing is true and correct and that this
 2   declaration was executed December 21, 2023, in New York, New York.
 3
                                                                 /s/ Christopher J. Morvillo
 4
                                                                 Christopher J. Morvillo
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

       DECLARATION OF CHRISTOPHER MORVILLO IN SUPPORT OF DEFENDANT MICHAEL RICHARD
             LYNCH’S MOTION TO COMPEL AND FOR RELATED RELIEF – 3:18-CR-00577-CRB
                                                     2
